         Case 22-33553 Document 893-2 Filed in TXSB on 10/25/24 Page 1 of 5




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         §
In re:                                                   § Chapter 7
                                                         §
ALEXANDER E. JONES,                                      § Case No. 22-33553 (CML)
                                                         §
                 Debtor.                                 §
                                                         §
                                                         §

   ORDER GRANTING TRUSTEE’S EMERGENCY MOTION FOR ENTRY OF AN
  ORDER AUTHORIZING (I) THE SALE OF ASSETS IN CONNECTION WITH THE
          THE WINDDOWN OF FREE SPEECH SYSTEMS, LLC AND
           (II) THE ASSUMPTION OF EXECUTORY CONTRACTS
                        [Relates to Docket No. 882]

         Upon the motion (the “Motion”)1 of the Trustee for entry of an order (the “Order”), (i)

approving and authorizing inclusion of the Jones IP Assets in the IP Assets Auction (if any) and

sale IP Assets requested in the Winddown Motion and authorizing the Trustee to take all actions

necessary to close the sale of the Jones IP Assets according to the procedures set forth in the

Winddown Order and proposed order attached thereto; (ii) approving the assumption and

assignment of any agreements related to the Social Media Accounts; and (iii) including the Jones

IP Assets in the IP Assets for the purposes of the calculation and payment of the Commission and

Reimbursement of Tranzon360; and the Court having reviewed any evidence in support of the

Motion; and the Court having reviewed the Motion and having heard the statements in support of

the relief requested therein at a hearing before the Court; and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and any objections to the Motion having been withdrawn with prejudice or



1 Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion.



                                                         1
15631965
        Case 22-33553 Document 893-2 Filed in TXSB on 10/25/24 Page 2 of 5




overruled on the merits at the Hearing; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT,

        1.     Pursuant to sections 105(a), 363, and 704 of the Bankruptcy Code, the Trustee is

authorized to auction and sell what rights the Jones Chapter 7 Estate has to the Jones IP Assets

free and clear of all liens, claims and encumbrances of any kind or nature whatsoever, as part of

the IP Assets Auction and in accordance with the terms set forth in the order granting the relief

requested in the Winddown Order. For the avoidance of doubt, the Publishing Agreement and the

Videogame Agreement listed on Exhibit B to the Motion are non-executory contracts, and the

Trustee is authorized to sell and assign all rights and interests of the Debtor’s estate under the

Publishing Agreement and Videogame Agreement pursuant to section 363 of the Bankruptcy

Code.

        2.     Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, the Trustee is

authorized to assume and assign the agreements related to the Social Media Accounts and listed

on Exhibit A (the “Assumed and Assigned Contracts”) attached to the Motion free and clear of

all liens, claims and encumbrances of any kind or nature whatsoever. The Trustee is authorized to

execute and deliver to the purchaser(s) of the Jones IP Assets such documents or other instruments

as may be necessary to assign and transfer the Assumed and Assigned Contracts to the

purchaser(s). Upon closing, in accordance with sections 363 and 365 of the Bankruptcy Code, the

purchaser(s) will be fully and irrevocably vested in all right, title, and interest in each of the

Assumed and Assigned Contracts. The Assumed and Assigned Contracts shall remain in full force

and effect for the benefit of the purchaser(s) in accordance with their respective terms,

notwithstanding any provision in any such Assumed and Assigned Contracts (including those of



                                                 2
15631965
       Case 22-33553 Document 893-2 Filed in TXSB on 10/25/24 Page 3 of 5




the type described in sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts,

or conditions such assignment or transfer. Any party that has not objected to the assumption and

assignment of any of the Assumed and Assigned Contracts is deemed to have consented to the

assumption and assignment of the Assumed and Assigned Contracts in accordance with the terms

of this Order and the Winddown Order, including with respect to the cure amount (the “Cure

Amount”) listed for each respective Assumed and Assigned Contract listed on Exhibit A to the

Motion. The parties to the Assumed and Assigned Contracts are forever bound by the Cure

Amounts and, upon payment of any such Cure Amounts, are forever enjoined from taking any

action against the Trustee, Debtor, the Debtor’s bankruptcy estate, the purchaser(s) and all agents,

representatives, affiliates, and permitted successors and assigns of the purchaser(s) or the Jones IP

Assets with respect to any claim for cure under the Assumed and Assigned Contracts.

Notwithstanding the foregoing, this Order does not purport to grant property rights to the purchaser

beyond that which is actually owned by the Chapter 7 Jones Estate, or to vest authority in the

Trustee to sell assets which are not owned by the Chapter 7 Jones Estate; and consistent with the

Sale Order(s) and this Order, the Trustee shall not warrant any title to any Social Media Accounts,

nor shall any damages incurred by the acquisition and use by any purchaser of the Social Media

Accounts found to be void, voidable, or without legal binding rights, be indemnified by the

Trustee.

       3.      The purchaser(s) have provided adequate assurance of future performance under

the relevant Assumed and Assigned Contracts within the meaning of sections 365(b)(1)(C) and

365(f)(2)(B) of the Bankruptcy Code. All other requirements and conditions under sections 363

and 365 of the Bankruptcy Code for the assumption by the Trustee and assignment to the

purchaser(s) of the Assumed and Assigned Contracts have been satisfied.



                                                 3
15631965
       Case 22-33553 Document 893-2 Filed in TXSB on 10/25/24 Page 4 of 5




        4.      The Trustee is authorized to include the proceeds attributable to the Jones IP Assets

in the calculation of Tranzon360’s Commission and Reimbursement, which is hereby allowed

pursuant to 11 U.S.C. § 503(b)(1)(A), and the Trustee is authorized to pay the Commission and

Reimbursement related to the sale of the Jones IP Assets from the proceeds of their sale upon

closing.

        5.      Notwithstanding anything to the contrary herein, the Jones IP Assets only include

the assets actually owned by the Jones bankruptcy estate. No listing of assets in the Motion or this

Order shall be construed as a warranty or representation by the Trustee, the Debtor’s bankruptcy

estate, or the Trustee’s professionals, that the Debtor’s bankruptcy estate owns any right, title or

actual or constructive interest in the Jones IP Assets, and accordingly, any determination of title,

ownership, or the scope of Jones IP Assets acquired from the Trustee pursuant to this Order of the

Sale, including any claim that the name Alex E. Jones or similar iterations have been acquired, or

that any likeness of Alex Jones has been acquired, that any inalienable right to privacy and/or

publicity belonging solely to Alex Jones has been acquired, or that any right to Alex Jones’ persona

existing after the filing of this Bankruptcy proceeding has been acquired shall be first brought in

this Court for determination. The sale and transfer of the Jones IP Assets are subject to the risk

that one or more of the Jones IP Assets may ultimately be determined to be non-transferable under

applicable bankruptcy or non-bankruptcy law. All parties’ rights to assert or object to right, title

or interest in the Jones IP Assets are herein reserved.

        6.      Nothing in this Order shall constitute a waiver by Jones of any IP rights or interests

in the Social Media Accounts, or his right to recover damages and other relief, including injunctive

relief, to the extent such rights exist.




                                                  4
15631965
       Case 22-33553 Document 893-2 Filed in TXSB on 10/25/24 Page 5 of 5




       7.       All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       8.       The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       9.       The requirements set forth in Bankruptcy Local Rule 9013-1 are satisfied by the

contents of the Motion.

       10.      Notwithstanding Bankruptcy Rule 6004(h), 6006(d) or 7062 or any applicable

provisions of the Local Rules, this Order shall be immediately effective and enforceable upon entry

hereof, and the fourteen-day stay provided in Bankruptcy Rule 6004(h) and 6006(d) is hereby

expressly waived and will not apply. The Court retains exclusive jurisdiction with respect to all

matters arising from or related to the implementation of this Order.

       11.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall be immediately

effective and enforceable upon entry hereof. The Court retains exclusive jurisdiction with respect

to all matters arising from or related to the implementation of this Order.



           Signed: _____________, 2024.


                                              HONORABLE CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




                                                 5
15631965
